Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 1 of 7




  Distrid Court, Denver County, Colorado
  Court Address: 1437 Bannock Street, room 256
                 Denver, CO 80202                                                                18 CEC IO PH h r.o

   BRIANBAlH;
   Plalnliff(s):
   V.                                                                                  A       COURT USE ONLY
  Defendant(s):
                                                                                   -
 /ExpERIAN INFORMATION SOLUTIONS, INs)
 ~ S UNION LLC;
  EQUIFAX INFORMATION SERVICES LLC.;
                                                                                           ,icvtt~
                                                                                   Division:           Courtroom:
  LEXISNEXIS RISK SOLUTIONS, INC.;
  AMERICAN EXPRESS COMPANY;
  DISCOVER FINANCIAL SERVICES;
  BANK OF AMERICA;
  J.P. MORGAN CHASE NATIONAL CORPORAlE SERVICES;
  ONEMAIN FINANCIAL SERVICES, INC.;
  CITIBANK, NA;
  WB.l.S FARGO MERCHANT SERVICES, LLC;
  BARCLAYS BANK PLC;
  BANK OF MISSOURI, dba OLLO;
  CAPITAL ONE, NA;
  JANE ANO DOES 1 - 100;

                                                 DISTRICT COURT CML SUMMONS

TOTMEABOVE-NAMEDDEFENDANT:                     £~ev-,o.n ~-Po...-~~ Solv-\ o,s ":Inc...            I



YOU ARE HEREBY SUMMONED and required to file with the Cfedt of this Court an answer or other response to the attached
Complaint If seTVice of the Summons and Complaint was made upon you within the State of Colorado, you are required to file
your answer or other response within 21 days after such service upon you. If service of the Summons and Complaint was
made up0n you outside of the State of Colorado, you ere required to file your answer or other response within 35 days after
such service upon you. Your answer or counterclaim must be accompanied with the applicable fi6ng fee.

If you fail to file your answer or other response to the Complaint In writing within the applicable time period, the Court may


Dair'-.
enter Judgment ~y default against you for the relief demanded i the Complaint without further notice.

                       CC2""Clf l!IE lllffiWJCO!!RI
         ·         ~         DEPUlY Cl!RK

                        DEC 10 ZDf8                           Signature of Plaintiff
                                                              5994 S Holly St, Sle., 244, Englewood, CO 80111
                                                              bwallace2012@eol.com
                                                              303.517.1360

This Summons Is isaued pursuant to Rule 4. C.R.C.P•• as amended. A copy of the Complaint must be served with this
Summons. This fonn should not be used where service by publlcatlon Is desired.

WARNING: A valid summons may be Issued by a lawyer end it need not contain a court case number, the signature of a
court officer, or a court seal. The plaintiff has 14 days from the date this summons was served on you to file the case with
the court You are responsible for contacting the court to find out whether the case has been filed and obtain the
case number. If the plaintiff files the case within this time, then you must respond as explained in this summons.
ff the plaintiff files more than 14 days after the date the summons was served on you, the case may be dismissed
upon motion and you may be entit!ed to seek attorney's fees from the plaintiff.



JOF 600 R10-13         DISTRICT COURT CML SUMMONS
Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 2 of 7




  istrict Court, Denver County, Colorado
   urt Address: 1437 Bannock Street, room 256
                                                                                    18GECIO PM l:ftO
                 Denver, CO 80202

 BRIANBATII;
 Plaintiff{s):
 v.
 Defendant(s):
     ERIAN INFORMATION SOLUTIONS. INC.;
        S UNION LLC; .
  QUIFAX INFORMATION SERVICES LLC.;
  EXISNEXIS RISK SOLUTIONS, INC.;
      RICAN EXPRESS COMPANY;
  ISCOVER FINANCIAL SERVICES;
  ANK OF AMERICA;
 .P. MORGAN CHASE NATIONAL CORPORATE SERVICES;
  NEMAIN FINANCIAL SERVICES, INC.i
  ITIBANK, N.A.;
   ELLS FARGO MERCHANT SERVICES, LLC;
  ARCLA YS BANK PLC;
  ANK OF MISSOURI, dba OLLO;
  APITAL ONE, NA;                                                                   A COURT USE ONLY A
 ANE AND DOES 1 - l 00;
  ttorney or Party Without Attorney (Name and Address):                       Case Number: \    icv          3{)
                         E-mail:



                                          CLASS ACTION COMPLAINT




 Plaintiff, Brian Bath, on behalf of himself and au similarly situated individuals, allege as follows:

     t. The Plaintiff brings this matter as a class action against the Defendants and prays for remedy and
         relief for himself and the class be proposes to represent for the Defendant's violations of State
         and Federal laws of Theft and Fraud.

   . 2. Fraud: "An intentional perversion of truth for the purpose of inducing another in reliance upon it
        to part with some valuable thing belonging to him or to surrender a legal right".
        See Black's Law Dictionary, Sill edition, page 337.

     3. Fraudulent conversion;" receiving into possession money or property of another and fraudulently
        withholding, converting or applying the same to or for one's own use and benefit, or to use and


           Pafe 1 of4                                 Declaration in the Fonn of Testimony for Brian Bath

                                                                                              Exhibit A
Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 3 of 7




       benefit of any person other than the one whom the money or property belongs". See Black's Law
       Dictionary, 5111 edition, page 338.

   4. Theft: "The taking of property without owner's consent".
      See Black's Law Dictionuy, 5111 edition, page 768.

   5. Specific Performance" The remedy of performance of a contract in the specific fonn in which it
       was made, or according to the precise tenns agree upon".
       See Fed. R Civil P. 70. Black's Law Dictionary, 5111 edition, page 593

   6. Defendants Experian, Trans, and Equifax are "consumer reporting agency" that selectively
      decides which infonnation to provide to consumers that request the FCRA-govemed information
      in its possession and which information it will hide from consumers. It withholds certain
      infonnation in order to minimize its compliance costs and to avoid customer service inquiries
      directed at it and its business partners. These business partners include, LexisNexis, a third party
      that sells public record information to Defendant, Experian then, in tum, processes disputes
      regarding that public record infonnation via the '"ACDV" system.

   7. Defendants Experian, Trans, and Equifax systemically misrepresent to consumers the source of
      the public record information (such as civil judgments, tax liens. and bankruptcies) that it places
      on their consumer reports, in violation of 1S U.S.C. § J681 g(a)(2). Experian Information
      Solutions thus deprives consumers of valuable congressionally-mandated information and makes
      it more difficult for consumers, such as Plaintiff and the putative class inembers, to correct errors
      relating to these public records that are caused by Defendants and/or its private vendor sources.
      but not by any courthouse or other government body that Experian often misidentifies as its
      "source...

   8. In or around March 2017. the Defendants. Experian, Trans, and Equifax, sold or provided a
      consumer report on Plaintiff to Factual Data, who in turn compiled the report into a tri-merge
      consumer report on Plaintiff, who in tum sold the tri-merge consumer report to AMEX, BOA,
      Wells Fargo, Discover, Barclays, Olio, CitiBank, Chase, Capital One, Synchrony Bank, and
      OneMiun. Reference: District Court Case, Sautter v. Defendant(s), LLC, Civil Action No. 3: IO-
      cv-514-HEH (E.D. Va.).

   9. Defendants Experian, Trans, and Equifax never identify "private vendor" and or LexisNexis as
      the source of the public record information that makes its way into the consumer credit files that
      it sells. Accordingly, Plaintiff alleges a class-claim under 15 U.S.C. § 1681g(a)(2). The Plaintiff
      requested a full copy of his credit file from Defendants Experian, Trans, and Equifax. When the
      Defendants Experian, Trans. and Equifax, responded to request, it violated I5 U.S.C. §
      168lg(a)(2) because it misrepresented the source of the public record information contained in
      his file disclosure.

   10. Plaintiff is a Consumer who resides in Colorado.

   11. Defendant Experian Information Solutions, Inc., (Experian) is a consumer reporting agency located
       in Costa Mesa, CA.

   12. Defendant Trans Union, LLC., (frans) is a consumer reporting agency located in Chicago, ll..



         Page2of4                                  Declaration in the Fonn ofTestimony for Brian Bath

                                                                                           Exhibit A
     Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 4 of 7
..
       •



           13. Defendant Equifax Infonnation Services, LLC., (Equifax) is a consumer reporting agency located
               in Atlanta, GA.

           14. Defendant LexisNexis Risk Solutions Inc., (Lexis) is a computer-assisted legal research agency
               located in Alpharetta, GA.

           15. Defendant American Express., (AMEX) is a financial services corporation located in New York,
               NY.

           16. Defendant Discover Financial Services., (Discover) is a fmanciaJ services corporation located in
               Riverwoods, IL.

           17. Defendant Bank of America., (BOA) is a financial services corporation located in Wilmington,
               DE.

           18. Defendant JPMorgan Chase & Co., (Chase) is a Foreign Corporation located in New York, NY.

           19. Defendant OneMain Financial Group, LLC., (OneMain) is a Foreign Limited Liability Company
               located in Baltimore, MD.

           20. Defendant Citibank. N.A., {Citi) is a Foreign Other Company located in New York NY.

           21. Defendant Wells Fargo Merchant "Card" Services, LLC (Wens Fargo) is a Foreign Limited
               Liability Company located in Des Moines IA.

           22. Defendant Barclays Bank PLC (Barclays) is a Foreign Corporation, Colorado Registered Agent is
               The Corporation Company located 7700 E Arapahoe Rd Ste 220, Centennial, CO 80112-1268,
               United States.

           23. Defendant Olio, is a financial services corporation located in Bethpage, NY.

           24. Defendant Capital One, National Association (Capital One) is a Foreign Other located in McLean,
               VA.

           25. Plaintiff on or about March 2017, added a Fraud Alert to ConsumeB Credit file on Experian, Trans,
               and Equifax, stating, "Do not extend credit without first contacting me personally and verifying all
               application infonnation at 303.SJ 7.1360".

           26. Plaintiff has never consented, nor gave authoriDtion to Defendants to review the Consumers credit
               file; and was never notified and asked for Plaintiff consent or authorization to review credit file by
               Defendants.

           27. In or around March 2017 to present day, November 12, 2018, Plaintiff learned that accounts were
               being reported inaccurately on Plaintiff Consumer credit report. Additionally, during this time,
               Plaintiff learned that the Defendant(s), Experian, Trans, Equifax, had allowed the other
               Defendant(s), AMIDC, BOA, Wells Fargo, Discover, Barclays, Olio, CitiBank, Chase, Capital
               One, Synchrony Bank, and OneMain access to his consumer reports without pennissible
               purposes. At this time Plaintiff is unaware as to whether these inaccuracies were caused by
                 Page3 of 4                                Declaration in the Fenn of Testimony for Brian Bath

                                                                                                   Exhibit A
Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 5 of 7




       identity theft. See, e.g., Wright v. Experian Information Solutions, Inc. et al, No. l :20 l 2cv03268
       ... 146 (D. Colo. 2014); Cumm v. Experian Information Solutions, Inc. Civil Action No. 12-cv-
       0242S-CMA-KLM (D. Coto 2013).; Saunders v. TransUnion, LLC, 3:05cv731-DWO. Magalong
       v. Oefendant(s) LLC l : l 7-cv-00862. See Exhibit B

   28. Plaintiff has filed complaints against the Defendants, regarding the issue of Fraud and Theft with a
       Notice stating these violations to the Comptroller of the Cunency, (OCC) and Consumer Financial
       Protection Bureau, (CfPB) as follows:

         a.    Experian: Complaint# J80619-3249563
         b.    Trans: Complaint# 180707-3298829
         c.    Equifax: Complaint# I 80619-3249226
         d.    Lexis: Complaint# 181113-3623S01
         e.    A.MEX: Complaint # 181105-3 606692
         f.    Discover: Complaint# 18 I I05-3606688
         g.    BOA: Complaint# 1811 OS-3606686
         h.    Chase: Complaint# 180630-3280929
         i.    OneMain: Complaint# 18 J 105-360405 S
         J.    Citibank: Complaint# 181105-3606693
         k.    Welts Fargo: Complaint# J80630-3280929
         1.    Barclays: Complaint# 181 J06-3607634
         m.    Capital One: Complaint# 181 I06-3 607178

   29. Defendants willfidly and negligently violated the FCRA, 15 U.S.C. 1681s-2(b), by failing to
       conduct a reasonable investigation into Plaintiffs dispute, including failing to review and by failing
       to mark the tradeline as disputed.

   30. The.Defendant(s) Experian, Trans, and Equifax, willful, negligent actions of Theft and Fraud and
       violations of the Fair Credit Reporting Act, (FCRA) caused the Plaintiff actual damages, including
       but not limited to reduction in credit score, hann to reputation, embanassmeot, worry, stress,
       inconvenience, Jost credit opportunities, and emotional distress.

    31. Defendants, AMEX, BOA, Welts Fargo, Discover, Barclays, Ollo, CitiBank, Chase, Capital One,
        Synchrony Bank. and OneMain violations of the FCRA caused the Plaintiff actual damages
        including harm to reputation and reduction in credit score.

        WHEREFORE, Plaintiff prays for the following relief:

        a.    Actual damages to be detennined at trail;
        b.    Punitive damages to be determined at trail;
        c.    Attorney fees and cost.
        d.    For such other relief as may be proper.



        Plaintiff


             Pa1e4of4                                Declaration in the Fonn of Testimony for Brian Bath

                                                                                            Exhibit A
        Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 6 of 7

  •~ P.O.Box 9701
      Allen, TX 75013




      0007011 Q!MSD.421 '"AUTO 150n4680111-42~194
      BRIAN EBATH
      5994 S HOLLY STREET BOX 224
      GREENWOOD VILLAGE CO 80111-4221
                                                                     -Ca!.f'0701~




      111111111111l111Jl l11t•'• 1l11•1 11lh11 111-11111"'11111111 IIfI II,
                                                                                                 •••
                                                                                                 .expenan,.                      •
                                                                                                   '-
                                                                                                  Dispute Results
                                                                                                  Report# 0610-5440-48 for 10/12/18



BRIAN E BATH
Dispute Results                                                                      • Information on this item has been updated. Please
                                                                                     review your report for the details.
Our reinvestigation or the dispute(s) and/or other
request{s) you recently submitted is now complete. Ir we                             Processed - This item was either updated or deleted;
were able to make changes to your credit report based on                             Please review your report for the details.
information you provided, or if you requested the addition                           If our reinvestigation has not resolved your dispute, you
of a statement, we have done so. Otherwise, we have                                  have several options:
contacted the company reporting the information you                                  • You may add a statement of up to 1OD words to your
disputed, supplied them all relevant information and any                             report. If you provide a consumer statement that contains
documents you gave us with your dispute, and instructed                              medical information related to service providers or
them to: review all information we provide them about                                medical procedures, then you expressly consent to
your dispute; velify the accuracy of the information;                                Experian including this information In every credit report
provide us a response to your dispute: and update their                             we issue about you.
records and systems as necessary.
                                                                                     • You may contact the company that reports the
If an item you disputed is not in the list of results below, it                      information to us and dispute it directly with them. If you
was either not appearing in your credit file or it already                          wish to obtain documentation or written verification            •
reflected the requested status at the time of our                                    concerning your accounts, please contact your creditors        i
reinvestigation.                                                                    directly.                                                       E
How to read your results                                                            • You may provide us additional information or documents         i
Deleted - This item was removed from your credit report.                            about your dispute to help us resolve it by visiting             c
Remains -The company that reported the information                                  www.experian.com/upload. You may also mail your                 IE
                                                                                    information to Experian, P.O. Box 9701, Allen, Texas
has certified to Experian that the information is accurate.                         75013.
                                                                                                                                                    E
This item was not changed as a result of our processing
of your dispute.                                                                    • You may file a complaint about Experian or the company
                                                                                    reporting the item, with the Consumer Financial Protection
Updated (Your results will indicate which one of the
                                                                                    Bureau or your State Attorney General's office.
following applies.)
                                                                                    If there has been a change to your credit history resulting
• The information you disputed has been updated. Please                             from our reinvestigation, or if you add a consumer
review your report for the details.
                                                                                    statement, you may request that Experian send an
• The item you disputed has been updated, which may                                 updated report to those who received your report within
include an update to the disputed information. Please                               the last two years for employment purposes, or within the
review your report for the details.                                                 last six months for any other purpose (the past 12 months
• The information you disputed has been verified as                                 for residents of Colorado, Maryland or New York). If you
accurate, however, information unrelated to your dispute                            send a request to have your results sent to past recipients
has been updated. Please review your report for the                                 of your credit report, please designate the organization's
details.                                                                            name and address. In the event an organization is not
                                                                                    specifically designated, we will generally default to
                                                                                    sending only to companies that have requested your
 0029429279                                                                                                                          oaoe 1 nf 1?
          Case 1:19-cv-00106-RM-NYW Document 3 Filed 01/11/19 USDC Colorado Page 7 of 7

                                                                                 BRIAN E BATH I Repor t# 0610-5440-48 for 10/1~1 8
   Record of requests for your credit history                               WF CRD SVC PO BOX 14517 DES MOINES IA 50306 (800)
                                                                            6424720
  We make your credit history available to your current and                 Address identification number:0776379003
  prospective creditors and employers as allowed by law. Experian           Date Apr 28, 2017 Reason Unspecified. This inquiry is
  may list these inquiries for up to two years.                             scheduled to continue on record until May 2019.
  Inquiries shared with others                                              BARCLAYS BANK DELAWARE 100 SOUTH WEST AVE
  The section below lists companies that have requested your                WILMINGTON OE 19801 (877) 523 0478
  credit information as a result of an action you took, such as             Address Identification number:0801715880
  applying for credit or financing or as a result of a collection. The      Date Apr 26, 2017 Reason Unspecified. This inquiry is
  inquiries In this section are shared with companies that receive         scheduled to continue on record until May 2019.
  your credit history.                                                     OLLOITBOM#CWS PO BOX 9222 OLD BETHPAGE NY 11804
                                                                           (877) 494 0020
  Examples of inquiries shared with others include:                        Address Identifi cation number:0718415419
     • a real estate loan                                                  Date Apr 26, 2017 Reason Gredit Granting. This inquiry is
     • a home mortgage loan                                                scheduled to continue on record until May 2019.
     • an auto loan
     • an application for credit                                           CAP ONE NA PO BOX 30281 SALT LAKE CITY UT 84130
                                                                           (800) 955 7070
   AMERICAN EXPRESS PO BOX 31525 SALT LAKE CITY ur                         Address identifi cation number:0718415419
   84131 (800) 874 2717                                                    Date Apr 24, 2017 Reason Unspecified. This inquiry is
   Address Identification number:0152888488                               scheduled to continue on record until May 2019.
   Date Oct 1, 2018 Reason Unspecified. This inquiry is scheduled         INTERNAL REVENUE SERVICE 300 E 8TH ST AUSTIN TX
   to continue on record until Nov 2020.                                  78701 No phone numbe r avallable
   AMERICAN EXPRESS No phone number available                             Address identification number:0801715880
  Address Identification number.0152888488                                Oate Feb 23, 2017 Reason Unspecified. This inquiry is
  Date Sep 27, 2018 Reason Unspecified. This inquiry is                   scheduled lo continue on record until Mar 2019.
  scheduled to continue on record until Oct 2020.                         CAP ONE NA PO BOX 30281 SALT LAKE CITY UT 84130
  DISCOVER FINANC IAL SERVI 12 REAOG WAY NEW CASTLE                       (800) 955 7070
  DE 19720 (800) 347 2683                                                 Addres s Identification number:0801715880
  Address Identification number: 0152888488                               Date Oct 23, 2016 Reason Unspecified. This inquiry is
  Date Sep 27, 2018 Reason Unspecified. This inquiry is                   scheduled to continue on record until Nov 2018.
  scheduled to continue on record until Oct 2020.
                                                                          Inquir ies share d only with you
  BK OF AMER PO BOX 982238 EL PASO TX 79998 (800) 421                     You may not hav-1 irailictled the following inqumes, so you may
  21'10                                                                   not recognize each source. We report these requests to you only
 Address Identifi cation number: 0885251803                               as a record of actMties, and we do not include any of these
  Date Jun 29, 2018 Reason Unspecified. This inquiry is                   reques ts on credit reports to others.
 scheduled to continue on record until Jul 2020.
 CHASE CARD PO BOX 15298 WILMINGTON DE 19850 (800)                        We offer credit information abOut you to those wilh a permissible
 432 3117                                                                 pulJ)OSe, such as:
 Address Identification number:0801715880                                 o other creditors who want to offer you preapproved credit;
 Date Jun 29, 2018 Reason Unspecified. This inquiry is                   • an employer who wishes to extend an offer of employment;
 scheduled to continue on record until Jul 2020.                         • a potential investor in assessing the risk of a current
                                                                             obligation;
 ONEMAIN PO BOX 59 EVANSVIUE IN 47701 (800) 382 7951                     • Experian Consumer Assistance to process a report for you;
 Address Identification number.0152888488                                • your current creditors to monitor your accounts (date listed
 Date Jun 18, 2018 Reason Unspecified. This inquiry is                       may reflect only the most recent request);
 scheduled to continue on record unUI Jul 2020.                          • an end user to complete your mortgage loan application;
 DISCO VER FINANCIAL SERVI 12 READS WAY NEW CASTL
                                                               E         • insurance underwriting (auto or home).
 DE 19720 (800) 347 2683
Address identification number:0167279183                                 These Inquiries DO NOT affect your credit score and are not
Date Jun 7, 2018 Reason Unspecified. This inquiry is scheduled           seen by anyone but you (excep t Insuran ce compa nies may
to continue on record until Jul 2020.                                    be able to see other Insurance compa ny Inquirie s).
BK OF AMER PO BOX 982238 EL PASO TX 79998 (800) 421
2110                                                                      AMEX PO BOX 981537 EL PASO TX 79998No phone
Address identification number:0629255256                                 _numbe r available
Date Apr 28. 2017 Reason Unspecified. This Inquiry is                     Oateo flngulr y:Oct 11 1 2018: Oct01 2018; Sep 27, 2018
                                                                                                              1
scheduled to continue on record until May 2019.                           CIC EXPERIAN CREDrTWORKS 535 ANTON BLVD STE 100
cm CARDS/CITIBANK PO BOX 6000 SIOUX FALLS so                             COSTA MESA CA 92626 (866) 431 3471
57117 (888) 766 2484                                                     Date of inquiry:Oct 11, 2018; Oct 01, 2018; Sep 27, 2018; Sep
Addres s Identification number.0776379003                                24. 2018; Sep 13, 2018; Sep 10, 2018; Aug 27, 2018; Aug 14,
Date Apr 28, 2017 Reason Unspecified. This Inquiry is                    2018;A ug13,2 018;Ju l31,201 8; Jul30,2 018;Ju l26,20 18;Jul
scheduled to continue on record until May 2019.                          221 201a:Ju121,2018




 0029429279
                                                                                                                               n::in• 7 nf .,.,
